         Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 1 of 15                                  FILED
                                                                                               2019 Oct-11 PM 12:21
                                                                                               U.S. DISTRICT COURT
                      IN THE UNITED STATES DISTRICT COURT                                          N.D. OF ALABAMA

                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

                                                   )
 DOUG AND AMBER SOLMON,                            )
     Plaintiffs,                                   )
                                                   )
                                                   )    Case No.: -_________________
 vs.                                               )    JURY DEMAND
                                                   )
 MADISON RV, INC., CAMPERS INN                     )
 OF MADISON, INC, JAYCO, INC. d/b/a                )
 HIGHLAND RIDGE RV, and BANK OF                    )
 AMERICA, N/A,                                     )
      Defendant(s).                                )
                                           COMPLAINT

       COMES NOW the Plaintiffs, Doug and Amber Solmon, (hereinafter “Plaintiffs” or “the

Solmons”), by and through their undersigned counsel, and submits the following Claims:

                                             PARTIES

   1. Plaintiffs, Doug and Amber Solmon, are Husband and Wife who are both over the age of

       19 years, and reside in Madison County, Alabama.

   2. Defendant, Madison RV, Inc. (“Defendant” or “Madison RV”), is a domestic corporation,

       and its principal place of business is 9311 Madison Boulevard, Madison, Alabama 35758.

       Based on information and belief, Madison RV is engaged in the business of selling

       recreational vehicles and travel trailer.

   3. Defendant, Campers Inn of Madison, Inc. (“Defendant” or “Campers Inn”), is a domestic

       corporation, and its principal place of business is 9311 Madison Boulevard, Madison,

       Alabama 35758. Based on information and belief, Campers Inn is engaged in the business

       of selling recreational vehicles and travel trailer.

   4. Defendant Jayco, Inc. d/b/a Highland Ridge RV (“Defendant” or “Highland Ridge”), is a

       foreign corporation regularly does business in Madison County, Alabama. Highland Ridge


                                                                                         Page 1 of 15
      Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 2 of 15



   manufactured the 2016 Open Range 367BHS travel trailer, VIN 58TFL3725023129, which

   is the subject of this action.

5. Defendant, Bank of America, N/A (“Defendant” or “Bank of America”) is a foreign

   corporation, which regularly does business in Madison County, Alabama. Based on

   information and belief, Bank of America is the holder of the consumer credit contract

   which provided the Plaintiffs financing of the 2016 Open Range 367BHS travel trailer,

   which is the subject of this action. Pursuant to 16 CFR § 433, Bank of America is liable

   for all claims that the Plaintiff can assert against the seller up to the amounts paid, plus

   attorney’s fees.

                             JURISDICTION AND VENUE

6. Venue and personal jurisdiction are proper for this Court as the facts and circumstances

   giving rise to this action occurred at, or in, the Madison County, Alabama, and Defendants

   have systematic and continuous ties to Madison County, Alabama, which is located in the

   Northern Division of the Northern District of Alabama.

7. Furthermore, federal subject matter jurisdiction is also proper for a for claim arising under

   the Magnuson-Moss Warranty Act pursuant to 15 U.S.C. § 2310(d)(1)(B).

8. Supplemental jurisdiction exists over the other claims in this matter pursuant to 28 U.S.C.

   § 1367.

                                STATEMENT OF FACTS

9. On or about September 7, 2016, the Solmons purchased a 2016 Open Range Roamer 367

   BHS (“Camper”) from Madison RV now doing business as Campers Inn.

10. The sales price for the Camper was $54,004.12, in which approximately $50,350.00 was

   financed with, or subsequently assigned to, Bank of America.



                                                                                      Page 2 of 15
     Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 3 of 15



11. The Solmons intended to use the Camper for their personal, private and/or family use.

12. Along with their purchase of the Camper, the Solmons received a two-year limited written

   warranty for “repair or replace” from Highland Ridge, the manufacturer.

13. On that same day the Camper was purchased, the Solmons also did a walkthrough of the

   camper and noticed a strange looking bump on the exterior of the bunkhouse slide out. The

   Solmons pointed the bump out to the agents/employees of Madison RV that were assisting

   them in their purchase. An agent/employee of Madison RV informed the Solmons that the

   bump and a few other issues the Solmons found on the Camper would be repaired and

   covered under the Highland Ridge warranty.

14. Because the Solmons already had planned to take a trip in the Camper at the time it was

   purchased, the Solmons scheduled to return the Camper back to Madison RV for the repairs

   after they returned from their trip.

15. While using the Camper on their trip, the Solmons also noticed the floors were soft in

   several places. The Solmons again notified an agent/employee of Madison RV and were

   told the problem would be repaired and covered by the Highland Ridge warranty.

16. Around October 2016, the Solmons dropped the Camper off at Madison RV for the repairs.

   The Camper was eventually moved to a second location to Southern RV Wholesale,

   because Madison RV’s service department was backlogged.

17. Based on information and belief, between 2016 and 2018 Southern RV Wholesale is

   believed to be owned and operated by Madison RV.

18. Around March 2017, the Solmons were notified that the repairs were complete, and the

   exterior bump was a blemish that was cosmetically corrected. However, when the Solmons

   went to pick up their Camper, they noticed the floors were still soft in some areas and there



                                                                                      Page 3 of 15
     Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 4 of 15



   was a big crease in the linoleum. After pointing these problems out, the Solmons were

   again told the problem would be repaired and covered under the warranty.

19. It was around July 2017 before the other repairs were finished and the Solmons were able

   to pick up the Camper.

20. Over the next fourteen months, the Solmons continued to take the Camper back to Madison

   RV for at least three more occasions for more repairs.

21. The other repairs to the Camper included, but not limited to, repairing a power converter

   on multiple occasions, the awning not rolling out, a heater fan fuse blowing out, and the

   brakes not working properly.

22. During this time, the Solmons realized the amount of time the Camper was out for repairs,

   exceeded the amount of time they had it in their possession. The Solmons contacted

   Highland Ridge to see if they could have the two-year limited warranty extended.

23. However, Highland Ridge denied their request and only offered an equivalent of one’s

   months payment and a release from providing further warranty repairs. The Solmons

   denied Highland Ridge’s offer.

24. In October 2018, right after the two-year limited warranty expired, the Solmons were

   winterizing the Camper, when they heard a popping sound as they were closing the rear

   slide out. When the Solmons opened the rear slide again, there was a crack in the exterior.

   The crack was located in the same exact place as the bump they found when they first

   purchased the Camper.

25. When the Solmons were able to return the Camper to Madison RV, now known as

   Camper’s Inn, an agent/employee also confirmed the crack was in the same exact place.




                                                                                    Page 4 of 15
      Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 5 of 15



26. The Solmons were also told it was likely there was structural damage to the Camper all

   along, and that Madison RV wanted to initially repair the bump as structural damage, but

   Highland Ridge denied their submission and only approved for the bump to be cosmetically

   repaired. The Solmons were later told by the general manager for Madison RV that he

   contacted Highland Ridge about repairing the crack because it was likely caused by

   structural damage that was there when the Solmons purchased the Camper.

27. However, the Solmons were informed Highland Ridge denied their warranty claim

   concerning the crack.

28. The Camper is not the first travel trailer and/or recreational vehicle the Solmons have

   owned. They are aware of the routine maintenance and have kept up with such

   requirements, such as winterizing the camper.

29. Furthermore, the times that the Solmons have had the Camper in their possession and not

   using it, the Camper has been kept in dry storage.

30. Nevertheless, every time the Solmons had a chance to use the Camper new problems have

   come up.

31. In addition to the crack in the rear slide, other problems have occurred since the two-year

   limited warranty expired have included, but not limited to, the battery charger going out,

   two fuses have blown, and the awning is still not working correctly.

32. As a result of the continuous problems with the Camper the Solmons have incurred

   damages including, but not limited to: not receiving the benefit of a camper they bargained

   for; monetary losses for the accrued interest and payments made on the Camper; monetary

   losses for out of pocket repairs of approximately $150.00; and attorney fees.




                                                                                     Page 5 of 15
      Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 6 of 15



33. In addition, this situation has caused the Solmons to experience frustration, stress, anxiety,

   and mental anguish.

34. On or about May 22, 2019, counsel for the Plaintiff mailed a letter to Highland Ridge and

   Madison RV notifying the Defendants of the problems with Camper and revoking their

   acceptance. This letter further served as a 15-day notice in accordance with the Alabama

   Deceptive Trade Practices Act, §8-19-01 et. seq. and reasonably described the Defendants’

   unfair and/or deceptive practices. See Exhibit “A” attached hereto.

35. As of the date of this Complaint, this matter has not been resolved.

36. Defendants have further failed to acknowledge Plaintiffs’ revocation of acceptance.

37. As a result, the Plaintiffs have also kept up with the Camper’s required maintenance and is kept

   in dry storage.

38. The Plaintiffs have also continued to make monthly payments for the financing of the Camper

   to Bank of America to avoid negative marks on their credit reports.

                  COUNT I – BREACH OF EXPRESS WARRANTY

39. The allegations of paragraphs 1-38 above are re-alleged and incorporated herein by

   reference.

40. The Plaintiffs and Defendants are subject to the provisions of Alabama’s Uniform

   Commercial Code, Code of Alabama § 7-2-101 et seq.

41. Pursuant to the UCC the Plaintiffs are “Buyers” as defined by Ala. Code § 7-2-103(1)(a);

   and Defendants are “Sellers” and/or “Merchants as defined by Ala. Code §§ 7-2-

   103(1)(a) and 7-2-104(1).

42. The Camper purchased by the Plaintiffs is a “Good” and a “Consumer Good” as defined

   in Ala. Code § 7-2-105 and § 7-9A-102.




                                                                                          Page 6 of 15
          Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 7 of 15



    43. Defendants breached its express warranty by failing adequately to correct the problems,

        defects and nonconformities in said Camper within a reasonable amount of time and/or

        within a reasonable number of attempts.

    44. Plaintiffs notified Defendants and/or its authorized agent within a reasonable time of such

        defects and nonconformities on several different occasions as stated above.

    45. In addition, the letter dated May 22, 2019, from Plaintiffs’ counsel provided Defendants

        with written notice.

    46. Plaintiffs are entitled to all damages available pursuant to the Code of Alabama §7-2-714

        and §7-2-715, including but not limited to damages for mental anguish.

    47. Plaintiffs allege that any limitation of remedies (including but not limited to limitations or

        exclusions of a refund and incidental and/or consequential damages) contained in any of

        Defendant’s warranties is unconscionable.

    48. Plaintiffs allege that to the extent that the limitation or disclaimer of implied warranties

        violates the Magnuson- Moss Warranty Act, 15 U.S.C. § 2301 et. seq.

    49. As a proximate consequence of Defendants’ breach of warranty, Plaintiffs have incurred

        monetary damages, incidental damages, consequential damages, and further, Plaintiffs

        have suffered stress, anxiety, inconvenience, frustration, and mental anguish.

    WHEREFORE Plaintiffs claim damages for breach of warranty, mental anguish, incidental

and consequential damages, and all other compensatory damages available, and any appropriate

equitable relief, plus interest, costs and attorney’s fees.

                      COUNT II – BREACH OF IMPLIED WARRANTY

    50. The allegations of paragraphs 1-38 above are re-alleged and incorporated herein by

        reference.



                                                                                            Page 7 of 15
      Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 8 of 15



51. The Plaintiffs and Defendants are subject to the provisions of Alabama’s Uniform

   Commercial Code, Code of Alabama §7-2-101 et seq.

52. Pursuant to the UCC the Plaintiffs are “Buyers” as defined by Ala. Code § 7-2-103(1)(a);

   and Defendants are “Sellers” and/or “Merchants as defined by Ala. Code §§ 7-2-

   103(1)(a) and 7-2-104(1).

53. The Camper purchased by the Plaintiffs is a “Good” and a “Consumer Good” as defined

   in Ala. Code § 7-2-105 and § 7-9A-102.

54. Plaintiffs relied on Defendants or its authorized agent skill and/or judgment to furnish

   suitable goods and Defendants knew and/or had reason to know that Plaintiffs were so

   relying.

55. The Defendants breached their implied warranty by:

       a. selling to Plaintiffs a camper not fit for the purposes for which such goods are

           sold or leased; and/or

       b. selling to the Plaintiffs a camper which was not in merchantable condition when

           sold or at any time thereafter.

56. Further Defendants failed to correct the problems, defects and nonconformities within a

   reasonable amount or time and/or within a reasonable number of attempts to do so.

57. Plaintiffs notified Defendants and/or its authorized agent within a reasonable time of such

   defects and nonconformities on several different occasions as stated above.

58. In addition, the letter dated May 22, 2019, from Plaintiffs’ counsel provided Defendants

   with additional written notice.

59. Plaintiffs are entitled to all damages available pursuant to the Code of Alabama §7-2-714

   and §7-2-715, including by not limited to damages for mental anguish.



                                                                                      Page 8 of 15
          Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 9 of 15



    60. Plaintiffs allege that any limitation of remedies (including by not limited to limitations or

        exclusions of a refund, and/or incidental and/or consequential damages) contained in any

        of Defendants’ warranties is unconscionable.

    61. Plaintiffs allege that to the extent that Defendants’ limitation and/or disclaimer of implied

        warranties violates the Magnuson- Moss Warranty Act, 15 U.S.C. § 2301 et. seq.

    62. As a proximate consequence of Defendants’ breaches of warranty, Plaintiffs have

        incurred monetary damages, incidental damages, consequential damages, and further,

        Plaintiffs have suffered stress, anxiety, inconvenience, frustration, and mental anguish.

    WHEREFORE Plaintiffs claim damages for breach of warranty, mental anguish, incidental

and consequential damages, and all other compensatory damages available, and any appropriate

equitable relief, plus interest, costs and attorney’s fees.

               COUNT III – VIOLATION OF THE MAGNUSON- MOSS ACT

    63. The allegations of paragraphs 1-38 above are re-alleged and incorporated herein by

        reference.

    64. Plaintiffs hereby allege that 15 USC §2301 et seq., the Magnuson-Moss Warranty Act,

        (“Magnuson”), applies to the transaction between the parties.

    65. Plaintiffs hereby alleges that the Camper sold to them is a “consumer product,” and that

        Plaintiffs are “Consumers” pursuant to 15 USC §2301(1) and (3).

    66. Defendants are a “Supplier” and “Warrantor” pursuant to 15 USC § 2301(4) and (5).

    67. An express limited warranty and an implied warranty of merchantability were given to

        Plaintiff as a part of the purchase, warranties which meet the definition of "written

        warranty" and "implied warranty" contained in 15 U.S.C. § 2301(6) and (7).

    68. The Defendants breached its express and/or implied warranties with the Plaintiffs by:



                                                                                           Page 9 of 15
         Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 10 of 15



            a. selling to Plaintiffs a Camper not fit for the purposes for which such goods are

                sold or leased;

            b. selling to the Plaintiff a Camper which was not in merchantable condition when

                sold or at any time thereafter; and/or

            c. failing adequately to correct the problems, defects and nonconformities in said

                Camper.

    69. Further Defendants failed to correct the problems, defects and nonconformities within a

        reasonable amount or time and/or within a reasonable number of attempts to do so.

    70. Plaintiffs notified Defendants and/or its authorized agent within a reasonable time of such

        defects and nonconformities on several different occasions as stated above.

    71. In addition, the letter dated May 22, 2019, from Plaintiffs’ counsel provided additional

        written notice to Defendants.

    72. The May 22, 2019 letter also provided defendants with written notice of its revocation of

        acceptance of the Camper.

    73. As a proximate consequence of Defendant’s breaches of warranty, Plaintiffs have

        incurred monetary damages, incidental damages, consequential damages, and further,

        Plaintiffs have suffered stress, anxiety, inconvenience, frustration, and mental anguish.

    74. Pursuant to 15 U.S.C. § 2310(d), Plaintiffs are entitled to actual damages, attorney fees,

        costs, and other legal and equitable relief.

    WHEREFORE, the premises considered, Plaintiffs request a judgment award for damages

caused by a violation of the Magnuson-Moss Warranty Act, mental anguish, incidental and

consequential damages, and all other compensatory damages available, and any appropriate

equitable relief, plus interest, costs and attorney’s fees.



                                                                                         Page 10 of 15
     Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 11 of 15



COUNT IV – VIOLATION OF THE ALABAMA DECEPTIVE TRADE PRACTICES

                                           ACT

75. The allegations of paragraphs 1-38 above are re-alleged and incorporated herein by

   reference.

76. Plaintiffs hereby allege that they are consumers and that Defendants are person(s),

   knowingly engaged in the sale of goods and commerce as per the Alabama Deceptive

   Trade Practices Act (‘ADTPA”), §8-19-1 et seq.

77. Defendants and/or its agent misrepresented the fitness, warranty, and the ability of repairs

   to the Plaintiffs.

78. The letter dated May 22, 2019, to Defendant from Plaintiffs’ counsel constituted as a

   written demand for relief, pursuant to Ala. Code 1975, § 8-19-10(e), and reasonably

   describing the unfair or deceptive act or practice and Plaintiffs’ injury.

79. Plaintiffs hereby allege that Defendants are subject to the ADTPA, and that they are in

   violation of the same by:

       a. “Causing confusion or misunderstanding as to the source, sponsorship, approval,

           or certification of goods or services…” pursuant to §8-19-5(2);

       b. “Causing confusion or misunderstanding as to the affiliation, connection, or

           association with, or certification by another…” pursuant to §8-19-5(3)

       c. “Representing that goods or services have sponsorship, approval, characteristics,

           ingredients, uses, benefits, or qualities that they do not have or that a person has

           sponsorship, approval, status, affiliation, or connection that he or she does not

           have” pursuant to §8-19-5(5);




                                                                                      Page 11 of 15
     Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 12 of 15



       d. “Representing that goods are original or new if they are deteriorated,

           reconditioned, reclaimed, used, secondhand, or altered to the point of decreasing

           their value or rendering the goods unfit for the ordinary purpose for which they

           were purchased” pursuant to §8-19-5(6);

       e. “Representing that goods or services are of a particular standard, quality, or

           grade...” pursuant to §8-19-5(7);

       f. “Advertising goods or services with intent not to sell them as advertised” pursuant

           to §8-19-5(9);

       g. “Advertising goods or services with intent not to supply reasonably expectable

           public demand unless the advertisement discloses a limitation of quantity”

           pursuant to §8-19-5(10);

       h. “Knowingly failing to identify flood, water, fire, or accidentally damaged goods

           as damaged goods if they are damaged to the point of decreasing their value or

           rendering the goods unfit for the ordinary purpose for which they were

           purchased…” §8-19-5(12);

       i. “Intentionally misrepresenting that a warranty or guarantee confers or involves

           certain rights or remedies” pursuant to §8-19-5(21); and

       j. “Engaging in any other unconscionable, false, misleading, or deceptive act or

           practice in the conduct of trade or commerce” pursuant to §8-19-5(27).

80. As a result of the actions of the Defendants, the Plaintiffs have incurred monetary

   damages, incidental damages, consequential damages, and further, Plaintiffs have

   suffered stress, anxiety, inconvenience, frustration, and mental anguish.




                                                                                    Page 12 of 15
         Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 13 of 15



   81. Plaintiffs hereby contend pursuant to Ala. Code § 8-19-10(a), they are entitled to relief

       under the ADTPA of three times the amount of actual damages, plus costs, and a

       reasonable attorneys fee to be determined at the conclusion of this litigation.

   WHEREFORE, the premises considered, Plaintiffs respectfully requests a judgment award

in the amount of three times actual damages or $100.00 whichever is greater, along with costs

and attorney fees as provided by Alabama Code § 8-19-10(a); and such further and different

relief as it deems just and proper.

                       COUNT V—REVOCATION OF ACCEPTANCE

   82. Paragraphs 1 through 38 are re-alleged and incorporated by reference herein.

   83. Defendants and Plaintiffs are subject to the provisions of Alabama’s Uniform

       Commercial Code (“UCC”), Ala. Code § 7-2-101, et seq.

   84. At the time of purchase, the Plaintiffs were provided a two-year warranty that the

       Camper’s nonconformities would be repaired or replaced.

   85. In addition, before leaving Madison RV, the Plaintiffs were verbally assured that the

       bump in the exterior wall would be repaired.

   86. Furthermore, upon discovering other nonconforming problems and/or reoccurring

       nonconformities with the Camper, the Plaintiffs continuously notified Defendants and/or

       its agents, with in a reasonable time.

   87. Pursuant to the UCC, a buyer may reject goods and/or commercial units where the

       acceptance was on the reasonable assumption that the nonconformities would be

       seasonable cured.

   88. The Defendants have failed to cure such defects and/or nonconformities within a

       reasonable amount of time and/or within a reasonable number of attempts.



                                                                                         Page 13 of 15
         Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 14 of 15



   89. Plaintiffs rightfully revoked acceptance of the Camper in its letter dated May 22, 2019.

   90. Defendants have not otherwise accepted the Plaintiffs rejection of the Camper.

   91. Section 7-2-711 of the Alabama Code provides: “On rightful rejection or justifiable

       revocation of acceptance a buyer has a security interest in goods in his possession or

       control for any payments made on their price and any expenses reasonably incurred in

       their inspection, receipt, transportation, care and custody and may hold such goods and

       resell them in like manner as an aggrieved seller.”

   WHEREFORE, the premises considered, the Plaintiffs pray the Court will render a

judgment declaring that Plaintiffs properly rejected the non-conforming goods. Plaintiffs also

pray the Court will grant them a security interest in the goods until such time as Defendants

retrieve them and return the payments made on their price. Plaintiffs further pray the Court will

grant such further and different relief as may be just and proper.

       Respectfully submitted on the 11th day of October 2019.

                                                      /s/ Mary Ruth C. Smitherman
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                                                      Attorney for Plaintiffs

                                                      /s/ J. Gabriel Carpenter
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                                                                                        Page 14 of 15
        Case 5:19-cv-01668-CLS Document 1 Filed 10/11/19 Page 15 of 15



256-761-1858


                                     JURY DEMAND

   Plaintiffs hereby demand a trial by jury as to this complaint.


                                                 /s/ Mary Ruth C. Smitherman
                                                 Attorney for Plaintiffs




                                                                               Page 15 of 15
